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                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF KENTUCKY
                               LOUISVILLE DIVISION
                                  Electronically Filed

 ERICKA PEACOCK JOHNSON,                         )
                                                 )
                       Plaintiff,                )
                                                 )           Case No. 3:20-cv-601-DJH-CHL
 v.                                              )
                                                 )
 EVOLENT HEALTH LLC,                             )
                                                 )
                       Defendant.                )
                                                 )

                       PLAINTIFF’S RESPONSE TO DEFENDANT’S
                         MOTION FOR SUMMARY JUDGMENT

                                             *******

                                       INTRODUCTION

        Plaintiff Ericka Peacock Johnson thought her future at Defendant Evolent Health LLC

 looked bright. She had just been transferred to a new department and assigned to a new supervisor.

 While she was transitioning into her new role, Peacock-Johnson disclosed to her new supervisor

 and to the Human Resources department that she was pregnant with twins and would be taking

 FMLA leave when her babies arrived. Less than two weeks later, she was suddenly terminated.

 Peacock-Johnson brings causes of action against Evolent for pregnancy and sex discrimination

 under the Kentucky Civil Rights Act, FMLA interference, and FMLA retaliation. Peacock-

 Johnson respectfully requests that this Court deny Evolent’s Motion for Summary Judgment and

 allow Peacock-Johnson’s case to continue.
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                            COUNTERSTATEMENT OF THE FACTS

 I.        Factual Background

      A.      Peacock-Johnson’s Employment at Evolent

           Ericka Peacock-Johnson began working at Evolent in June of 2018 for the position of

 business analyst reimbursement. (DN 35-2, Deposition of Ericka Peacock Johnson, Mar. 22, 2021,

 PageID #: 184-85). During her time at Evolent, Peacock-Johnson worked remotely and traveled to

 Evolent’s office in Chicago as-needed. (DN 35-2, PageID #: 187). While Peacock-Johnson butted

 heads with her first supervisor, Clarice Maxwell, at times and Maxwell would micro-manager

 Peacock-Johnson, even Maxwell admitted that Peacock-Johnson “works well in supporting the

 [team of teams] that she is assigned to and assists where needed[.]” (DN 35-2, PageID #: 200;

 2019 Performance Evaluation Excerpt, Evolent 0022, attached as Exhibit 1).

           Under Evolent’s progressive discipline policy, employees can receive verbal warnings,

 written warnings, and final written warnings. (Deposition of Jennifer Waiters, May 13, 2021, p.

 11, attached as Exhibit 2). Employees can also be placed on “performance coaching plans” or

 “performance improvement plans” before being terminated. (Waiters depo at p. 11; Deposition of

 Suzanne Kambic, May 12, 2021, p. 44, attached as Exhibit 3). During her time at Evolent, Peacock-

 Johnson was never formally put on any sort of improvement plan. (Deposition of Clarice Maxwell,

 Jun. 30, 2021, pp. 23-24, 39-40, attached as Exhibit 4).

           In December of 2019, Vice President of Configuration Heather Spencer and Vice President

 of Implementations Mary Piecuch initiated a meeting with Peacock-Johnson in which they offered

 her a transfer and promotion to a different position within Evolent: to join the Configuration Team

 as an analyst. (DN 35-2, PageID #s: 204-05; Emails between Peacock, Spencer, and Piecuch, Dec.

 19, 2019-Jan. 2, 2020, PEACOCK_JOHNSON00090-91, attached as Exhibit 5; Kambic depo at




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 p. 9). Spencer and Piecuch told Peacock-Johnson that they believed the position would fit her

 skillset well, that it would involve working with multiple clients, and that the position would come

 with a pay increase. (DN 35-2, PageID #: 205-06, 210). Peacock-Johnson accepted the position.

 (DN 35-2, PageID #s: 204-05; PEACOCK_JOHNSON00090-91; Kambic depo at p. 9).

        Employees must be fully trained and succeeding in their current positions in order to be

 eligible for a transfer. (Waiters depo at pp. 38-39). According to Evolent’s Employee Handbook,

 promotions and transfers are given to “[q]ualified employees in good standing[.]” (Waiters depo

 at pp. 39-40). Employees must “be meeting job performance expectations to be eligible for

 promotion or transfer.” (Waiters depo at pp. 39-40).

        Managing Director of Configuration Suzy Kambic, who worked under Spencer, was aware

 that Peacock-Johnson was moved to the Configuration Team and confirmed that the decision to

 transfer Peacock-Johnson to the Configuration Team was final. (Kambic depo at pp. 8-9, 28).

 Kambic also confirmed that she knew about Peacock-Johnson’s transition to the Configuration

 Team before January of 2020. (Kambic depo at p. 28). Kambic was kept in the loop about Peacock-

 Johnson’s transfer to the Configuration Team because Peacock-Johnson was moving to the

 organization that reported to Kambic. (Kambic depo at pp. 28-29). Maxwell was also aware that

 Peacock-Johnson was going to take on a new analyst position in the Configuration Department.

 (Maxwell depo at p. 29). One spreadsheet documenting the plan that Peacock-Johnson was to work

 in the Configuration Department as an analyst was created on February 5, 2020:




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 (Maxwell depo at p. 30; Spreadsheet showing Peacock-Johnson transition plan to Configuration,

 Confidential—Evolent_0163, pending leave to file under seal as Exhibit 6).

        On January 30, 2020, Peacock-Johnson reached out to Blake Lawson, Spencer’s Chief of

 Staff, to ask if there were any updates on her transition to the Configuration Team. (Maxwell depo

 at pp. 35-36; Kambic depo at p. 15). Lawson replied stating that Peacock-Johnson would be getting

 more information about her role in the configuration department in the next week or so. (Email

 from Lawson to Peacock, Jan. 31, 2020, PEACOCK_JOHNSON000061, attached as Exhibit 7;

 Maxwell depo at p. 36). Lindauer began approving Peacock-Johnson’s paystubs since Peacock-

 Johnson was now part of the configuration department. (Lindauer depo at p. 12). Peacock-

 Johnson’s pay slips reflect that her pay increased in February of 2020. (Peacock-Johnson Payslips,

 Evolent 0041, attached as Exhibit 8; Maxwell depo at p. 42).

        On February 10, 2020, Lindauer reached out to Peacock-Johnson to welcome her to the

 department. (DN 35-2, PageID #s: 207-08; DN 35-2, Emails between Lindauer and Peacock, Feb.

 10, 2020, PageID #s: 230-31). Lindauer testified that she would not have sent such an email if she

 did not think Peacock-Johnson would be fully transitioning to the configuration team, as we the

 plan. (Lindauer depo at p. 33).


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    B.      Peacock-Johnson Reports that she is Pregnant and Seeking Maternity Leave and
            FMLA Leave Shortly After Being Transferred to a New Department

         After being transferred to the Configuration Team, Peacock-Johnson filed requests for paid

 time off for February 20 and March 20, 2020. (DN 35-2, Page ID #: 211). On February 14, 2020,

 Lindauer asked Peacock-Johnson why she needed those days off. (DN 35-2, PageID #s: 211-12;

 DN 35-2, Emails between Lindauer and Peacock, Feb. 14, 2020, PageID #s: 233-35). Peacock-

 Johnson disclosed to Lindauer that she was pregnant. (Lindauer depo at pp. 16-17). Peacock-

 Johnson explained that she was pregnant with twins, so appointments would be more time

 consuming than with single-baby pregnancies, and that is why she asked for full days off instead

 of a specific window of time. (DN 35-2, PageID #: 213; Lindauer depo at pp. 37-38).

         Peacock-Johnson asked Lindauer about FMLA and maternity leave, and Lindauer told

 Peacock-Johnson she would need to talk to the human resources department. (DN 35-2, PageID #:

 213; Lindauer depo at pp. 17-18). Peacock-Johnson told Lindauer that she was fine with her telling

 Suzanne Kambic about the pregnancy since Kambic was Peacock-Johnson’s Director in her new

 role and would want to know the reason behind the paid time off requests. (DN 35-2, PageID #:

 213). This lines up with Kambic’s testimony that she did find out that Peacock-Johnson was

 pregnant, but that she knows it was not from Peacock-Johnson herself. (Kambic depo at p. 17).

         That same day after the phone call, Peacock-Johnson emailed the general human resources

 “Talent Team” department email account mailbox to ask about maternity leave and FMLA. (DN

 35-2, PageID #s: 214-15; DN 35-2, Emails between Peacock, Human Resources, and Waiters, Feb.

 14, 2020-Feb. 18, 2020, PageID #s: 237-41; Waiters depo at pp. 28-29, 31). Therefore, the

 following message went to an inbox to which many people in the Talent Team/HR Department

 had access:




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 (DN 35-2, PageID #: 240). The Human Resources inbox was accessible by both Managing

 Director/Vice President of Talent Patrick Devlin and Senior Director over Human Resources

 Melissa Gilliland. (Hargett depo at pp. 9-10; Waiters depo at p. 7).

        Jennifer Waiters of the human resources department was assigned to address the email and

 responded from Talent Team mailbox “talentsupport@Evolent.com,” asking for Peacock-

 Johnson’s due date. (DN 35-2, PageID #: 215-16; Waters depo at p. 30). Peacock-Johnson again

 specified that she was having twins, and said that because of that, her due date could be anywhere

 between July and August. (DN 35-2, PageID #: 216). Waiters worked a few levels below Devlin.

 (Waiters depo at p. 7).

        After exchanging emails with Peacock-Johnson, Waiters added Peacock-Johnson to

 Evolent’s Pregnancy Tracking Spreadsheet. (Waiters depo at p. 33; Evolent Redacted Pregnancy

 Tracking Spreadsheet, Confidential—Evolent_0171, pending leave to file under seal as Exhibit 9).

 Evolent’s Pregnancy Tracking Spreadsheet was saved on a shared drive of Evolent’s, and Waiters

 was not the only person with access to it. (Waiters depo at p. 34). According to Waiters, at least

 Kristine Dubois (Associate Director of the Talent Team) and Mara Jaffa (Senor Director of Talent)



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 had access to the spreadsheet. (Waiters at pp. 7, 34). Jaffa worked directly under VP of Talent

 Devlin. (Waiters depo at p. 7).

    C.      Evolent Conducts a Reduction in Force

         Evolent started planning a reduction in force in February of 2020. (DN 35-8, Ventimiglia

 Declaration, par. 7, PageID #: 367). Individuals who participated in the planning included Richard

 Ventimiglia, Melissa Gilliland, Patrick Devlin, and Kelly Riley. (See DN 35-7, Email from

 Ventimiglia, Feb. 10, 2020, PageID #: 284). During the preparation process for the reduction in

 force, some employees were added to the spreadsheet, and many employees were removed from

 the spreadsheet. (DN 35-8, Ventimiglia Declaration, par. 8, PageID #: 367). It is a disputed issue

 of material fact when Peacock-Johnson was added to the list to be considered for the reduction in

 force. The last was based on performance reviews for 2019, but by the time Evolent did

 performance reviews for 2019, Marie Lindauer was already listed as Peacock-Johnson’s manager.

 (DN 35-2, PageID #: 194). However, Maxwell still evaluated Peacock-Johnson. (DN 35-2, PageID

 #: 194). Maxwell never went over the 2019 performance review with Peacock-Johnson. (DN 35-

 2, PageID #s: 193-94).

         In one of the draft spreadsheets during the preparation for the reduction in force, it was

 noted that Peacock-Johnson’s position would need to be backfilled if she was terminated, and that

 the backfill would need to be with a United States employee. (Kambic depo at p. 39; Evolent RIF

 Spreadsheet noting backfill needs, Confidential— Evolent_0164, pending leave to file under seal

 as Exhibit 10). In that same spreadsheet, the following note was present for an employee named

 Marilyn who Evolent was considering terminating: “She has been on short- and long-term leave

 off and on since being rehired and is currently on leave. Not sure of the rules in place when

 someone is on leave. Would gladly give up Marilyn without concerns.” (Kambic depo at p. 38;




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 Evolent_0164). Evolent also terminated an employee named Chauntille Tarver while she was out

 on FMLA leave as part of a reduction in force. (Waiters depo at pp. 25-26). While most employees

 on the spreadsheets had detailed notes explaining why it would be a good or bad idea to terminate

 them, no notes existed for Peacock-Johnson. (Spreadsheets already referenced; Evolent

 Spreadsheet with Notes, Confidential – Evolent_0167, pending leave to file under seal as Exhibit

 11; Kambic depo at pp. 35, 45, 48).

    D.      Peacock-Johnson is Terminated Ten Days After Requesting Maternity and
            FMLA Leave and Less Than Two Months After Being Transferred to a New
            Position

         On February 21, 2020, one week after Peacock-Johnson had disclosed her pregnancy to

 Evolent and the day after her first pregnancy-related appointment for which she had requested off,

 Maxwell sent Peacock-Johnson a meeting invitation for February 24, 2020. (DN 35-2, PageID #:

 217). At the meeting, Maxwell and Cindy Hargett terminated Peacock-Johnson. (DN 35-2, PageID

 #: 217-18). Hargett told Peacock-Johnson that she was being terminated because her role was being

 eliminated. (DN 35-2, PageID #: 218-19). Peacock-Johnson reminded Hargett that she already

 knew that her role under Maxwell had been eliminated, but that she had accepted a promotion to

 a new role, so it should not matter that her role under Maxwell was being eliminated. (DN 35-2,

 PageID #: 219). Hargett told Peacock-Johnson that she didn’t know anything about Peacock-

 Johnson’s transfer. (DN 35-2, PageID #: 219).

         Peacock-Johnson pointed out that the only thing that had changed between Peacock-

 Johnson accepting a transfer in December and being terminated in February is that she had reported

 to Evolent that she was pregnant and notified Evolent of her intent to take maternity and FMLA

 leave. (DN 35-2, PageID #: 219). Hargett claimed that HR had no knowledge of Peacock-

 Johnson’s pregnancy, and Peacock-Johnson reminded Hargett that she had documented proof that




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 she had alerted HR to her pregnancy before receiving the invitation to the termination meeting.

 (DN 35-2, PageID #: 219). Nevertheless, Peacock-Johnson’s termination stood and was effective

 the day she was told, and her email access was terminated immediately. (Emails between IT

 Helpdesk, Lindauer, Krabbe, Maxwell, Feb. 24, 2020, Evolent 25-26, attached as Exhibit 12;

 Evolent Final RIF Spreadsheet, Confidential— Evolent_0166, pending leave to file under seal as

 Exhibit 13).

        Lindauer was not given an official reason for why Peacock-Johnson was terminated.

 (Lindauer depo at 14). Lindauer testified that it was very strange that she was not part of Peacock-

 Johnson’s termination process or given an official reason for the termination since Peacock-

 Johnson reported to Lindauer. (Id.). Lindauer testified that it was abnormal that Peacock-Johnson

 was assigned to Lindauer as a transfer to the configuration department and then suddenly

 terminated before her work could fully transfer to the configuration department. (Lindauer depo at

 p. 15). Lindauer did not know that Peacock-Johnson was to be terminated until she received the

 termination notice. (Lindauer depo at p. 18). Lindauer reached out to Krabbe about it, and Krabbe

 knew about the termination. (Id.). Lindauer was not aware of any problems with Peacock-

 Johnson’s work performance. (Lindauer depo at p. 22).

        Shortly after Evolent terminated Peacock-Johnson, she saw adds for Evolent Analyst

 Configuration     positions   on   glassdoor.com.     (glassdoor.com     Analyst,   Configuration,

 PEACOCK_JOHNSON000085, 56-58, attached as Exhibit 14). In fact, Evolent has hired more

 than five configuration analysts since Peacock-Johnson was terminated, including Ashley Alvey.

 (Kambic depo at pp. 40-41). It has been necessary to hire additional analysts due to Evolent

 acquiring additional clients and needed additional workforce to handle all of the clients. (Kambic

 depo at p. 42).




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  II.    Procedural Posture

         Peacock-Johnson filed suit in July of 2020. (DN 1-1). The parties engaged in discovery.

  Among other things, Peacock-Johnson asked Evolent for “the name of every agent of Defendant

  involved in the decision to terminate Plaintiff, and the role each agent played in the decision to

  terminate Plaintiff. (Evolent’s Answers and Objections to Peacock-Johnson’s First Set, Dec. 22,

  2020, Interrogatory No. 11, attached as Exhibit 15). Evolent identified Scott Fad and Heather

  Spencer as the “ultimate decisionmakers regarding Plaintiff’s termination.” Evolent also credited

  “Melissa Gilliland and Richard Ventimiglia from Evolent Human Resources” for being “involved

  in making decisions regarding the reduction in force[.]” Evolent further credited “Suzanne

  Kambric [sic.], Managing Director, Configuration” for “review[ing] the list of employees in her

  department affected by the reduction in force.” Evolent said that “Cindy Hargett and Clarice

  Maxwell communicated the decision to Plaintiff.” (Answer to Interrogatory No. 11). However,

  Kambic testified that she had no direct role in Peacock-Johnson’s termination. (Kambic depo at p.

  10). Kambic also testified that while she was given a list of individuals who would be terminated,

  she had no say on who was on that list. (Kambic depo at pp. 13-14). Scott Fad testified that he was

  not the decisionmaker in terminating Peacock-Johnson. (Fad depo at p. 37).

         Evolent also only credited “performance” for how “it made determinations regarding who

  to terminate as part of its reduction in force[.]” (Answer to Interrogatory No. 13). However, all

  employees Evolent considered for the reduction in force had the same performance rating as

  Peacock-Johnson or lower, and the majority of the employees Evolent considered were not

  ultimately terminated. (See generally, Spreadsheets). And while the majority of employees who

  were considered had notes concerning why they should or should not be terminated, the only notes




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  for Peacock-Johnson were that Evolent would need to backfill her position with a United States

  employee and that her access should be “terminated immediately.” (Spreadsheets).

         Peacock-Johnson also requested as part of the discovery process “any e-mails between

  agents of Defendant that address Plaintiff’s pregnancy, FMLA requests, performance, or

  termination” and “all charts, drawings, sketches, diagrams, etc. in the possession of the Defendant

  or its attorney, or other agents, or employees of the Defendant, that in any way related to the

  Plaintiff’s claims or the defenses in this action.” (Evolent’s Responses and Objections to Peacock-

  Johnson’s First RPODs, Dec. 22, 2020, Requests 8 and 9, attached as Exhibit 16). While Evolent

  did produce emails where Evolent agents referenced drafts of spreadsheets related to the reduction

  in force, it did not produce spreadsheets “UPDATED_Fad Ops_Low Perf_Detail_020720 .xlsx”

  or “UPDATED_Fad Ops_Low Perf_Detail_020720 sf rv wSalary Bonus.xlsx” that were attached

  to the emails. (DN 35-7, Emails between Ventimiglia, Gilliland, Devlin, and Riley, Feb. 9-10,

  2020, Evolent_0048-51, PageID #s: 284-87; DN 35-8, Email from Ventimiglia to Gilliland, Feb.

  13, 2020, Evolent_0052, PageID #: 375). It also did not produce PowerPoint presentation “FEB

  2020 Headcount Chg.pptx” attached to a February 13 email. (DN 35-8, Email from Ventimiglia to

  Gilliland, Feb. 13, 2020, Evolent_0052, PageID #: 375).

         On July 12, 2021, the very last day of discovery (See DN 27, PageID #s: 102-03), Evolent

  supplemented its 26(a) disclosures, listing Director, Talent Partner Kelly Riley as a person likely

  to have discoverable information for the first time. (Defendant’s Second Amended Rule 26(a)

  Disclosures, Jul. 12, 2021, attached as Exhibit 17). Evolent stated that Riley was “expected to have

  knowledge regarding the reduction in force and termination of Plaintiff’s employment.” (Id.).

  Given that Evolent waited until the very last day of discovery to disclose that Riley had information

  that Evolent intended to use, Peacock-Johnson did not have an opportunity to depose Riley.




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         In Riley’s Declaration, Evolent attempts to cure the fact that it did not produce the draft

  reduction in force spreadsheet attached to the February 9 and 10 emails (and the spreadsheet

  referenced but not attached to the February 11 email) by insisting that spreadsheets produced in a

  completely different place in Evolent’s production with completely different names were the

  spreadsheets in question. (DN 35-7, Riley Declaration, pars. 11-12 juxtaposing Evolent_0048-51

  with Evolent_0167 and Evolent_0054-55 with Evolent_0164, PageID #s: 280-81, 283-361).

  Evolent continued this strategy with Ventimiglia’s Declaration, claiming that it produced the

  spreadsheet attached to the February 13 email by pointing to a spreadsheet produced in a

  completely different place in Evolent’s production. (DN 35-8, Ventimiglia Declaration, par. 9

  juxtaposing Evolent_0052 with Evolent_0168, PageID #s: 367, 375-97).

                                    STANDARD OF REVIEW

         When considering a motion for summary judgment under Federal Rule of Civil Procedure

  56(c), the Court “must view the factual evidence and draw all reasonable inferences in favor of the

  non-moving party.” Patterson v. Hudson Area Sch., 551 F.3d 438, 444 (6th Cir. 2009). Through

  this lens of favor to the non-moving party, summary judgment is appropriate only “if the pleadings,

  the discovery and disclosure materials on file, and any affidavits show that there is no genuine

  issue as to any material fact and that the movant is entitled to judgment as a matter of law.”

  Patterson, 551 F.3d at 444 citing Fed. R. Civ. P. 56(c) (emphasis added). “When moving for

  summary judgment the movant has the initial burden of showing the absence of a genuine dispute

  to a material fact.” Automated Sols. Corp. v. Paragon Data Sys., Inc., 756 F.3d 504, 520 (6th Cir.

  2014). In cases of conflicting evidence, courts do not make credibility determinations as “the

  weighing of the evidence, and the drawing of legitimate inferences from the facts are jury

  functions, not those of a judge.” Reeves v. Sanderson Plumbing Products, Inc., 530 U.S. 133, 150




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  (2000). If a reasonable jury could possibly rule in favor of the non-moving party, summary

  judgment should not be granted. Bush v. Compass Grp. USA, Inc., 683 F. App’x 440, 444 (6th Cir.

  2017). Evolent does not meet the summary judgment standard here, and a reasonable jury could

  find for Peacock-Johnson on all of her claims.

                                           ARGUMENT

         Peacock-Johnson has brought causes of action against Evolent for sex and pregnancy

  discrimination under KRS § 344.010 et seq. (“The Kentucky Civil Rights Act” or “KCRA”),

  interference with access to leave under 29 U.S.C.S. § 2611 (“The Family and Medical Leave Act”

  or “FMLA”), and retaliation for seeking leave under 29 U.S.C.S. § 2611. All three claims involve

  a McDonell Douglas burden shifting analysis in which the plaintiff begins the analysis by

  establishing a prima facie case. McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802 (1973).

  Then, the defendant must provide a legitimate, nondiscriminatory reason for terminating the

  plaintiff. Id. Once the defendant offers its reason, the plaintiff provides circumstantial evidence

  that the reason provided by the defendant is merely pretext for discrimination. Id. at 804.

  Ammerman v. Bd. of Educ., of Nicholas Cnty., 30 S.W.3d 793, 897-98 (Ky. 2000). These elements

  work together to provide victims of discrimination, interference, and retaliation with a remedy

  even when the unlawful conduct is not obvious on its face. Likewise, all three claims can be

  supported by the Cat’s Paw Theory. Marshall v. The Rawlings Company LLC, 854 F.3d 368, 377

  (6th Cir. 2017).

         Under “Cat’s Paw Theory,” plaintiffs can demonstrate discrimination when a defendant

  employer’s decisionmakers rely on information from subordinates with possible discriminatory

  animus in making an adverse employment decision regarding the plaintiff. Coffman v. United

  States Steel Corporation, 185 F. Supp. 3d 977 (E.D. Mich., May 5, 2016); Welsh v. Automatic




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  Data Processing, Inc., 954 F. Supp. 2d 670 (S.D. Ohio, Jun. 20, 2013). When using both the

  McDonnell Douglas burden-shifting framework and the Cat’s Paw Theory, plaintiffs first establish

  a prima facie case with actors who are not necessarily the decisionmakers, then conduct an analysis

  to show that the decisionmaker likely acted based on the wrongful behavior of the subordinate.

  Marshall, 854 F.3d at 379-80. Under such an analysis, all three of Peacock-Johnson’s claims

  should survive summary judgment.

  I.         Peacock-Johnson has Established Prima Facie Cases for All of Her Claims

        A.      Peacock-Johnson has Established a Prima Facie Case for her Sex and Pregnancy
                Discrimination Claim

             Peacock-Johnson successfully establishes a prima facie case of sex and pregnancy

  discrimination under the KCRA. To establish a prima facie case, Peacock-Johnson should show

  that: (1) she was pregnant; (2) she was qualified for her job; (3) she was subjected to an adverse

  employment decision; and (4) there is a nexus between her pregnancy and the adverse employment

  action. Cline v. Catholic Diocese of Toledo, 206 F.3d 651, 658 (6th Cir. 2000). Evolent only argues

  that Peacock-Johnson cannot establish the fourth element. (DN 35-1, MSJ, PageID #s: 169-72).

             Plaintiffs can establish a causal connection using circumstantial evidence. Asbury

  University v. Powell, 486 S.W.3d 246, 258 (Ky. 2016). Circumstantial evidence of a causal

  connection can be established through proof that:

             (1) the decision-maker [or subordinate of the decision-maker, in the case of Cat’s Paw
             Theory] responsible for making the adverse decision was aware of the protected activity at
             the time that the adverse decision was made, and
             (2) there is a close temporal relationship between the protected activity and the adverse
             action.

  Id.

             One helpful case here is Prebilich-Holland v. Gaylord Entertainment Co., 297 F.3d 438

  (6th Cir. 2002). In Prebilich, the plaintiff failed to establish a nexus between her pregnancy and



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  the adverse employment action because the facts demonstrated that the decision to engage in the

  adverse employment action was made before the employer learned of her pregnancy. Id. at 443.

  The court noted that “an employer may well have no knowledge of the early stages of an

  employee’s pregnancy unless the employee has made her circumstances known to the employer[.]”

  Id. When the evidence shows that the pregnancy might have been known, an employer cannot

  claim a lack of knowledge. Id. “If the pregnancy is not apparent and the employee has not disclosed

  it to her employer, she must allege knowledge and present, as part of her prima facie case, evidence

  from which a rational jury could infer that the employer knew that she was pregnant.” Id. at 444

  (internal citations omitted).

         In Prebilich, the fact that the employer initiated the plaintiff’s termination process before

  learning of the plaintiff’s pregnancy was unrefuted. Id. Here, however, all that is alleged is that

  Peacock-Johnson was being considered for a reduction in force along with 66 other employees at

  the beginning of February.1 By the time that list was narrowed down to the final 33, of which

  Peacock-Johnson was one, the human resources department had unquestionably been alerted to

  Peacock-Johnson’s pregnancy and intent to take FMLA leave. Devlin, who had access to the HR



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   While Riley claims in her Declaration that she created the first reduction in force draft spreadsheet
  on February 7, 2020, she does not point to anything in the record that she alleges is that
  spreadsheet. (DN 35-7, Riley Declaration, par. 7, PageID #: 280). Ventimiglia also does not point
  to anything in the record purporting to be the first list of names. (DN 35-8, Ventimiglia
  Declaration, par. 8, PageID #: 367). Nonetheless, Evolent represents in its motion for summary
  judgment that the “documentary evidence shows that Ms. Riley had put Plaintiff on the RIF List
  by February 7, 2020, seven days before she told anyone at Evolent that she was pregnant.” (DN
  35-1, PageID #: 170). No documentary evidence supports this claim other than Riley’s
  Declaration, and Peacock-Johnson was given no opportunity to press Riley as to why she was so
  confident that Peacock-Johnson was on that original spreadsheet. After all, Evolent did not produce
  that spreadsheet, and Ventimiglia stated in his Declaration that employees were added after the
  original spreadsheet was drafted. (DN 35-8, Ventimiglia Declaration, par. 8, PageID #: 367). Either
  the spreadsheet does not exist and Riley is claiming to have a vivid memory of a spreadsheet 20
  months after creating it, or the spreadsheet does exist and Evolent just chose not to produce the
  spreadsheet. Neither is an acceptable explanation.


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  email inbox and likely the Pregnancy Tracking Spreadsheet, was involved in selecting the final

  employees to be terminated. Peacock-Johnson was succeeding enough at Evolent that she had just

  recently been transferred to another department, her position would need to be backfilled, she was

  not on any sort of improvement plan, her supervisor was not aware of any performance issues, and

  no notes had been made about reasons to terminate her. A reasonable jury could infer that Devlin

  learned about Peacock-Johnson’s pregnancy before the decision was made to terminate her.

     B.      Peacock-Johnson has Established a Prima Facie Case for her FMLA Interference
             Claim

          Peacock-Johnson successfully establishes a prima facie case of interference under the

  FMLA. FMLA interference involves five elements:

          (1) [plaintiff] is an eligible employee,
          (2) the defendant is an employer as defined under the FMLA,
          (3) the employee was entitled to leave under the FMLA,
          (4) the employee gave the employer notice of [her] intention to take leave, and
          (5) the employer denied the employee FMLA benefits to which [she] was entitled.

  Tennial v. United Parcel Serv., Inc., 840 F.3d 292, 308 (6th Cir. 2016). Evolent appears to concede

  that Peacock-Johnson establishes a prima facie case of interference, and instead claims Peacock-

  Johnson cannot establish pretext. (DN 35-1, MSJ, PageID #s: 174-75). That analysis will be

  conducted below.

     C.      Peacock-Johnson has Established a Prima Facie Case for her FMLA Retaliation
             Claim

          Peacock-Johnson successfully establishes a prima facie case of retaliation under the

  FMLA. Establishing a prima facie case involves four elements:

          (1) she exercised a right protected by the FMLA;
          (2) the employer knew she exercised that right;
          (3) she suffered an adverse employment action; and
          (4) a causal connection between her protected activity and the adverse employment
          action.




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  Seeger v. Cincinnati Bell Tel. Co., 681 F.3d 274, 283 (6th Cir. 2012). Evolent argues that Peacock-

  Johnson cannot establish elements two, three, or four. (DN 35-1, MSJ, PageID #s: 172-74). All

  three of those elements are encompassed in the “nexus” element that was previously analyzed

  under the KCRA prima facie case analysis.

  II.    Peacock-Johnson has Established Sufficient Employer Knowledge Under the Cat’s
         Paw Theory

         “The cat’s paw theory addresses situations in which decisionmakers unthinkingly adopt the

  recommendations of their biased lower-level supervisors[.]” Marshall, 854 F.3d at 378. It is

  unclear who the decisionmaker was here. Evolent identified Scott Fad as the decisionmaker, but

  he denied being a decisionmaker. Evolent identified Kelly Riley as a decisionmaker for the very

  first time in its Motion for Summary Judgment, creating a situation where Peacock-Johnson did

  not have proper notice to investigate Riley. However, we know that Devlin was working with Fad

  and Riley on narrowing down the preliminary reduction in force list to the final half of considered

  employees who were finally terminated.

         A reasonable jury could find that Devlin had access to the knowledge that Peacock-Johnson

  was pregnant and requesting FMLA leave through two means: the Talent Team/HR inbox from

  Peacock-Johnson’s original email inquiry, and from Waiters’s entry of Peacock-Johnson’s

  information into Evolent’s Pregnancy Tracking Spreadsheet to which Devlin’s department had

  access. A reasonable jury could infer that Devlin shaped the judgement of the decisionmakers and

  is the reason Peacock-Johnson was on the final reduction in force list even though she was

  outperforming her comparators and Evolent had just invested in her by moving her to a new

  department.




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  III.    A Reasonable Jury Could Find that the Reasons Provided by Evolent for Peacock-
          Johnson’s Termination are Pretext for Discrimination, Interference, and Retaliation

          Peacock-Johnson can show that the alternative reasons for her termination provided by

  Evolent were merely pretext in that they (1) have no basis in fact; (2) did not actually motivate the

  employer’s challenged conduct; and/or (3) were insufficient to warrant the challenged conduct.

  Brooks v. Davey Tree Expert Co., 478 Fed. Appx. 934, 941 (6th Cir. 2012). Only one of these three

  needs to be satisfied to establish pretext. Id. Evolent claims that it made the decision to terminate

  Peacock-Johnson before she disclosed that she was pregnant and seeking FMLA leave, and it

  claims that its decisionmakers did not find out that she was pregnant and seeking FMLA leave

  until after her termination had been announced. A reasonable jury could find that these reasons

  have no basis in fact, did not actually motivate Evolent’s conduct, and were also insufficient to

  warrant terminating Peacock-Johnson.

          Under Supreme Court case Reeves v. Sanderson Plumbing Prods., 530 U.S. 133 (2000),

  “it is permissible for the trier of fact to infer the ultimate fact of discrimination from the falsity of

  the employer’s explanation.” Id. at 147 (emphasis removed). Peacock-Johnson allegedly being on

  an initial list of people with 2019 performance review ratings of 2 or below does not equate a

  decision to terminate her. Only half of the individuals on the initial list were terminated. No reasons

  were ever provided in the “notes” sections of the various spreadsheets to support Peacock-

  Johnson’s termination, it was noted that her position would have to be backfilled with a United

  States worker, she had been succeeding enough to get a transfer to a new department, she had

  never been on an improvement plan, and Evolent did ultimately have to replace her with new

  analysts. Peacock-Johnson receiving a “2” on her 2019 performance review from someone who

  wasn’t even her supervisor anymore did not warrant termination compared to the performance

  issues of other employees being considered. A reasonable jury could find that Evolent engaged in



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  pretext from its nonsensical reasoning in selecting Peacock-Johnson to be in the final group of

  terminated employees after she had broadcast to the human resources department that she was

  pregnant and seeking FMLA leave.

                                             CONCLUSION

          For the above-stated reasons, Peacock-Johnson respectfully requests that this Court deny

  Evolent’s motion for summary judgment and allow Peacock-Johnson’s case to continue to trial.

                                                          Respectfully submitted,

                                                          /s/ Abigail V. Lewis
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                                    CERTIFICATE OF SERVICE

          The undersigned hereby certifies that today, November 16, 2021, the foregoing was filed

  with the electronic filing system of the court, which will alert all parties to this action.

                                                          /s/ Abigail V. Lewis
                                                          Garry R. Adams
                                                          Abigail V. Lewis




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